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                               UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF WISCONSIN
                                     EAU CLAIRE DIVISION
  In re:                                         §     Case No. 13-12285- 13
  Todd M Paulson                                 §
                                                 §
                         Debtor(s)               §

                 CHAPTER 13 TRUSTEE'S FINAL REPORT AND ACCOUNT

                Mark Harring            , chapter13 trustee, submits the following Final Report and
  Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
  declares as follows:

           1) The case was filed on05/03/2013 .

           2) The plan was confirmed on 7/29/2013

           3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
               10/11/2013
           4) The trustee filed action to remedy default by the debtor in performance under the plan on
               08/18/2014 .
           5) The case was dismissed on 09/11/2014 .

           6) Number of months from filing or conversion to last payment: 10 .
           7) Number of months case was pending: 19 .
           8) Total value of assets abandoned by court order: NA .
           9) Total value of assests exempted:       $68,085.00 .

           10) Amount of unsecured claims discharged without full payment                  $0.00 .
           11) All checks distributed by the trustee relating to this case have cleared the bank.




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   Receipts:
       Total paid by or on behalf of the debtor                  $3,947.81
       Less amount refunded to debtor                               $69.23
   NET RECEIPTS:                                                                                    $3,878.58


    Expenses of Administration:

           Attorney's Fees Paid Through the Plan                             $2,000.00
           Court Costs                                                           $0.00
           Trustee Expenses & Compensation                                    $187.63
           Other                                                                 $0.00

    TOTAL EXPENSES OF ADMINISTRATION                                                                $2,187.63

    Attorney fees paid and disclosed by debtor:             $1,569.00


  Scheduled Creditors:

   Creditor                                Claim          Claim       Claim Principal                 Int.
   Name                         Class     Scheduled      Asserted     Allowed Paid                    Paid

 NATIONSTAR MORTGAGE LLC
                     Secured                 11,500.00    14,723.39     14,723.39        1,678.85        0.00

 NATIONSTAR MORTGAGE LLC
                     Secured                    NA          575.00        575.00            12.10        0.00

 CITY OF HUDSON              Unsecured         320.00       632.79        632.79             0.00        0.00

 HUDSON PHYSICIANS CLINIC
                      Unsecured                468.00       522.89        522.89             0.00        0.00

 PORTFOLIO RECOVERY ASSOCIATES
                     Unsecured LLC            2,246.00     2,493.68      2,493.68            0.00        0.00

 SPRINT NEXTEL - DISTRIBUTIONS
                        Unsecured              398.00       463.19        463.19             0.00        0.00

 AMERICAN INFOSOURCE LP
                     Unsecured                 270.00       700.52        700.52             0.00        0.00

 PRA RECEIVABLES MANAGEMENT
                     Unsecured LLC              NA          292.40        292.40             0.00        0.00

 NATIONSTAR MORTGAGE LLC
                      Direct                141,658.00   144,698.95   144,698.95             0.00        0.00

 401K LOAN                     Direct         4,391.00        NA            NA               0.00        0.00

 COMCAST                     Unsecured         121.00         NA            NA               0.00        0.00

 DISH NETWORK                Unsecured         214.00         NA            NA               0.00        0.00

 GE MONEY BANK               Unsecured        4,309.00        NA            NA               0.00        0.00

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 CAPITAL ONE NA                 Unsecured            10,000.00           NA              NA                  0.00         0.00

 US BANK NA                     Unsecured             1,002.00           NA              NA                  0.00         0.00




  Summary of Disbursements to Creditors:
                                                                  Claim                  Principal                  Interest
                                                                  Allowed                 Paid                       Paid
  Secured Payments:
        Mortgage Ongoing                                               0.00                     0.00                      0.00
        Mortgage Arrearage                                        15,298.39                 1,690.95                      0.00
        Debt Secured by Vehicle                                        0.00                     0.00                      0.00
        All other Secured                                              0.00                     0.00                      0.00
  TOTAL SECURED:                                                  15,298.39                 1,690.95                      0.00
  Priority Unsecured Payments:
         Domestic Support Arrearage                                      0.00                     0.00                    0.00
         Domestic Support Ongoing                                        0.00                     0.00                    0.00
         All Other Priority                                              0.00                     0.00                    0.00
  TOTAL PRIORITY:                                                        0.00                     0.00                    0.00

  GENERAL UNSECURED PAYMENTS:                                      5,105.47                       0.00                    0.00


  Disbursements:
          Expenses of Administration                              $2,187.63
          Disbursements to Creditors                              $1,690.95
  TOTAL DISBURSEMENTS:                                                                                              $3,878.58

         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
   estate has been fully administered, the foregoing summary is true and complete, and all administrative
   matters for which the trustee is responsible have been completed. The trustee requests a final
   decree be entered that discharges the trustee and grants such other relief as may be just and
   proper.

   Date: 12/01/2014                                         By: /s/ Mark Harring
                                                                                         Trustee

   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 13 20.4(a)(2) applies.




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